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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                  IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                         )    CASE NO. CR-S-06-450 LKK
10                                                     )
                             Plaintiff,                )
11                                                     )    STIPULATION AND ORDER TO CONTINUE
             v.                                        )    STATUS HEARING
12                                                     )
     DIALLO SIMS                                       )
13                                                     )
     DONNA LAVETTA WILSON,                             )
14                                                     )
                       Defendants.
15   _______________________________
16           This case is currently scheduled for a status hearing on August 21, 2007. The attorneys for all
17   parties have conferred and agree that additional time is needed for preparation of plea agreements in this
18   case.
19           All parties, through their respective counsel, hereby stipulate and agree that the status conference
20   scheduled in this case for August 21, 2007, be continued until August 28, 2007, for change of plea. In
21   addition, the parties stipulate that the time period from August 21, 2007, to August 28, 2007, be excluded
22   under the Speedy Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide
23   defense counsel with the reasonable time to prepare.
24           A proposed order is attached and lodged separately for the court's convenience.
25
     DATED:August 20, 2007
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28                                                          1
               Case 2:06-cr-00450-MCE Document 44 Filed 08/20/07 Page 2 of 3


 1                        Respectfully submitted,
 2   McGREGOR W. SCOTT                              DANIEL BRODERICK
     United States Attorney                         Federal Defender
 3
 4
     /s/Lexi Negin for Dale Kitching                /s/ Lexi Negin
 5   DALE KITCHING                                  LEXI NEGIN
     Special Assistant U.S. Attorney                Assistant Federal Defender
 6   Attorney for United States                     Attorney for Donna Wilson
 7
 8
     /s/ Lexi Negin for Hayes Gable
 9   HAYES GABLE
     Attorney for Diallo Sims
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 1
 2                                IN THE UNITED STATES DISTRICT COURT
 3                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-06-450 LKK
 5                                                   )
                           Plaintiff,                )
 6                                                   )   PROPOSED CONTINUING STATUS
            v.                                       )   CONFERENCE AND EXCLUDING TIME
 7                                                   )
     DIALLO SIMS                                     )
 8                                                   )
     DONNA LAVETTA WILSON,                           )
 9                                                   )
                       Defendants.
10   _______________________________
11
            For the reasons set forth in the stipulation of the parties, filed on August 20, 2007, IT IS HEREBY
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     ORDERED that the status conference currently scheduled for August 21, 2007, be continued until
13
     Tuesday, August 28, 2007, at 9:30 a.m. for change of plea. The Court finds that the ends of justice to be
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     served by granting a continuance outweigh the best interests of the public and the defendant in a speedy
15
     trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ August 20, 2007
16
     stipulation, the time under the Speedy Trial Act is excluded from August 21, 2007, through August 28,
17
     2007, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense
18
     counsel with the reasonable time to prepare.
19
20
     Dated: August 20, 2007
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